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U.S. District Court

Maryland - Baltimore
‘ Recelpt Date: May 1, 2025 1:44PM
Obermayer Rebmann Maxwell & Hippel LLP
Rept. No: 12430 Trans. Date: May 1, 2025 1:44PM Cashier ID; #AV (3523)
cD Purpose Case/Party/Defendant Qty Price Amt
121 Registration of Foreign Judgment . 1 52.00 52,00
cD Tender Amt
CH Check #27682 04/22/2025 $52.00
Total Due Prior to Payment: $52,00

Total Tendered: $52.00

A $53 fee will be charged for NSF checks. Criminal Debt Payments can be made on-line at
https://www.pay.gov/public/form/start/741690530. Payment must be made by money order, check, or debit card only, Far questions call
410-962-2613.

